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                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF NEBRASKA

 ELIJAH WELLS, by and through his mother                      Case No. 8:21-cv-322
 SUZANNE GLOVER,

                        Plaintiff,
                                                   INDEX OF EVIDENCE IN SUPPORT OF
 v.                                                 DEFENDANTS’ MOTION TO DISMISS

 CREIGHTON PREPARATORY SCHOOL, in                           Fed. R. Civ. P. 12(b)(6)
 its official capacity,                                              and
                                                            Fed. R. Civ. P. 12(b)(1)
 STERLING BROWN; JAMES BOPP in their
 individual capacities.

                        Defendants.


         Defendants, Creighton Preparatory School, Sterling Brown, and James Bopp, submit the

following evidence in support of their Motion to Dismiss:

         1.     Affidavit of James Bopp;

                      Including its Exhibit “A” – Creighton Preparatory School Student-Parent

                       Handbook 2020-2021.

         Dated this 15th day of November, 2021.

                                             CREIGHTON PREPARATORY SCHOOL, in its
                                             official capacity, STERLING BROWN and JAMES
                                             BOPP in their individual capacities, Defendants


                                             By: /s/Patrick M. Flood
                                             Patrick M. Flood, #19042
                                             William N. Beerman, #26544
                                             PANSING HOGAN ERNST & BACHMAN LLP
                                             10250 Regency Circle, Suite 300
                                             Omaha, NE 68114
                                             (402) 397-5500
                                             (402) 397-4853 (facsimile)
                                             Attorneys for Defendant
                                             pflood@pheblaw.com
                                             wbeerman@pheblaw.com
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                                 CERTIFICATE OF SERVICE

       I hereby certify that on the 15th day of November, 2021, I electronically filed the foregoing
document with the Clerk of the Court using the CM/ECF system which will send notification to the
following:

       Keith L. Altman
       LAW OFFICE OF KEITH ALTMAN
       33228 West 12 Mile Road, Suite 375
       Farmington Hills, MI 48334


                                             /s/ Patrick M. Flood




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